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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                           CR-19-90-BLG-SPW-1
                         Plaintiff,
                                                             ORDER
           vs.

 MEREDITH McCONNELL,

                         Defendant.


      Upon the Defendant’s Unopposed Motion for Witness to Testify by Video at

Sentencing (Doc. 286), and for good cause appearing,

      IT IS HEREBY ORDERED that the Defendant’s Motion to allow Fr. Dave

Bailey to testify via ZOOM is GRANTED.

      IT IS FURTHER ORDERED that the ZOOM conferencing information will be

e-mailed from Chambers to counsel for Defendant on Friday, October 15, 2021.

      The Clerk of Court is directed to notify counsel of the making of this Order.

      DATED this 14th day of October, 2021.



                                               SUSAN P. WATTERS
                                               United States District Judge


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